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              EXHIBIT 7
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 M.M.M., on behalf of his minor child, J.M.A.,
 et al.,

                               Plaintiffs,
                                                 CIVIL ACTION NO. _________

                                                 DECLARATION OF MANOJ
 v.                                              GOVINDAIAH IN SUPPORT OF
                                                 PLAINTIFFS’ MOTION FOR
                                                 TEMPORARY RESTRAINING
                                                 ORDER AND PRELIMNARY
 Jefferson Beauregard Sessions, III, Attorney    INJUNCTION
 General of the United States, et al.,

                               Defendants.
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 I, Manoj Govindaiah, declare and state pursuant to 28 U.S.C. § 1746:

        1.      I am an attorney licensed to practice law in the States of Illinois, Florida, and

 Texas. I have been licensed in these states since 2006, 2012, and 2015, respectively. I currently

 practice law at the Refugee and Immigrant Center for Education and Legal Services (“RAICES”)

 in San Antonio, Texas. I am above the age of 18 years and not a party to this action. I make this

 declaration of my own personal knowledge, and could and would competently testify to the

 matters contained herein if called upon to do so.        I submit this declaration in support of

 Plaintiffs’ Motion for Temporary Restraining Order and Preliminary Injunction.

        2.      Among other persons, I have provided legal services to non-citizen children who

 have been detained, separated from their parents, deemed unaccompanied minors, and then

 reunified with their parents, including two Plaintiffs in this action: J.M.A. and E.A.H. They are

 minors currently detained at the Karnes County Residential Center (“Karnes”) and were recently

 reunited with their fathers after a period of separation. I have spoken with J.M.A., E.A.H., and

 their fathers, and I have reviewed their available immigration files.

        3.      J.M.A. and E.A.H. seek asylum and fear persecution in their country of origin, but

 have been denied the opportunity to go through proceedings under Section 240 of the

 Immigration and Nationality Act (“INA”) after the government placed them in such proceedings,

 and they have been denied the opportunity for an interview with an asylum officer to evaluate

 whether the child has a “credible fear” of persecution under INA § 235.

        4.      After being separated from their parents, J.M.A. and E.A.H. were issued Notices

 to Appear for removal proceedings under INA § 240. However, I believe those notices either

 were never filed or have been withdrawn by the government. Therefore, J.M.A. and E.A.H.
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 were never given the opportunity to petition for asylum through Section 240 proceedings before

 being reunited with their parents.

        5.      In addition, E.A.H. has not been given a credible fear interview since being

 reunited with this father at Karnes. On July 19, 2018, at the request of E.A.H., lawyers from

 RAICES assisted him in expressing a fear of return to Honduras, which typically would result in

 a credible fear interview. We assisted E.A.H. by completing a “Resident Request to Staff” form,

 which is the ordinary process for expressing a fear of return at the Karnes County Residential

 Center, and instructed E.A.H. and his father that they would need to submit the form to ICE

 using a mailbox that is located inside the residential space in Karnes, where we, as attorneys,

 cannot access. The standard practice is that ICE officers issue a written response to such forms.

 To my knowledge, E.A.H. never received a response to that request form, though his father

 verbally confirmed that he submitted the form in the mailbox as instructed. The “Resident

 Request to Staff” form was scanned and emailed to ICE officers and USCIS Asylum Officers

 that work at Karnes, with proof that we are E.A.H.’s attorney of record. ICE has yet to respond

 to the email. The Asylum Office, however, responded the following day saying they lack

 jurisdiction over the request because ICE has not referred the case to the Asylum Office. At

 some point between July 21-23, 2018, the Asylum Office contacted Plaintiff E.A.H. and his

 father and provided him with an M-444 form which describes an asylum applicant’s rights in the

 credible fear process, and advised that he would be scheduled for a credible fear interview, but

 did not provide a date or time. On July 26, 2018, I contacted the Asylum Office to inquire as to

 the status of Plaintiff E.A.H.’s credible fear interview, however they indicated that the case had

 not been referred to them by ICE.
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        6.         J.M.A. has not been given a credible fear interview since being reunited with this

 father at Karnes either. On July 19, 2018, Plaintiff J.M.A. indicated to a RAICES attorney that

 he had a fear of return. Later that evening, we emailed ICE officers and USCIS Asylum Officers

 that work at Karnes to state that J.M.A. has a fear of returning to Honduras, and attached proof

 that we are J.M.A.’s attorney of record. ICE has yet to respond to the email. The Asylum Office,

 however, responded the following day saying they lack jurisdiction over the request because ICE

 has not referred the case to the Asylum Office. On July 20, 2018, lawyers from RAICES assisted

 J.M.A. in completing a “Resident Request to Staff” form, and instructed J.M.A. and his father

 that they would need to submit the form to ICE using the mailbox that is located inside the

 residential space in Karnes. They later received a response, dated July 21, 2018, that said in

 Spanish “wait for your interview.” On July 23, 2018, J.M.A. was issued a “Notice of Interview

 for Credible/Reasonable Fear” that indicated he would receive a credible fear interview on July

 26, 2018. On July 26, 2018 I emailed the Asylum Office to ask the status of the interview, and

 they responded that ICE had rescinded the “ER triggering docs” so the Asylum Office no longer

 had jurisdiction to consider J.M.A. for credible fear.

        7.         Prior to the implementation of the government’s family separation policy,

 requests of the nature described Paragraphs 6 and 7 above were honored by ICE. However, since

 the government has started reunifying families that were separated, ICE officials have not

 responded to requests we have sent to their attention regarding credible fear interviews of

 reunified children detained at Karnes. Thus, I do not believe ICE has any intention of honoring

 these requests.

        8.         The accompanying parents or guardians of J.M.A. and E.A.H., M.M.M. and

 I.A.T., respectively, have received their own expedited removal orders after receiving a negative
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 finding from the Asylum Office on their credible fear interviews. However, these credible fear

 interviews were conducted after the parent or guardian had been separated from their child.

 Many, if not all, of the separated parents we have worked with were experiencing extreme

 emotional distress and trauma at the time of their credible fear interviews, making it nearly

 impossible for them to focus on anything other than the location and wellbeing of their children.

        9.      In addition, because of the separation policy, J.M.A.’s and E.A.H.’s parents or

 guardians were unable to consult with them prior to the parents’ or guardians’ own credible fear

 interviews. The ability of a parent or guardian to consult with the child prior to a credible fear

 interview is extremely important. Based on my experience, I am aware of cases in which the

 child knew of facts that the parent does not know that would strengthen the parent’s claim of

 asylum and increase the likelihood of a positive finding in the parent’s credible fear interview.

 For example, a child could be threatened that if he does not join a particular gang, the gang will

 harm or kill the parent. These kinds of cases are common.

        10.     J.M.A. and E.A.H. are not independently subject to expedited removal orders that

 I am aware of, and the Plaintiffs are not named on the orders issued to their parents. I am not

 aware of any removal order of any kind that J.M.A. and E.A.H. are currently subject to, and do

 not believe the United States has legal authority to remove them from the country.

        11.     I understand that the accompanying parents or guardians of Plaintiffs J.M.A. and

 E.A.H. agreed to deportation for themselves and for their children in exchange for reunification

 with their children. ICE secured these agreements by pressuring parents or guardians into

 signing various rudimentary forms that provided them two basic options: (1) be deported with

 your child, or (2) be deported alone. No form that I have seen provided any indication about

 what the child’s or parent’s rights were under the immigration laws, or what alternatives might
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 be available to them. No form that I have seen contemplated the right of the parent to be

 reunified with their child while their child applies for immigration relief. Many parents were not

 able to consult with a lawyer before signing, and elected to be deported with the child because

 they were so desperate to be reunited with their child, and were led to believe it was the only

 way, or quickest way, to be reunited. I believe that ICE is treating such selections as a “waiver”

 of any rights the child and/or parent might have under the immigration laws so that ICE can

 deport the entire family as soon as possible following reunification.

        12.     Based on the foregoing, I believe that Plaintiffs and their parents or guardians are

 in serious danger of being deported without the Plaintiffs ever going through removal

 proceedings under Section 240 or receiving the required credible fear interviews under Section

 235. And the Plaintiffs and their parents are not alone. They are among hundreds of children

 and parents in similar circumstances who have suffered the same pattern of behavior by ICE and

 other government officials.

        13.     It is my understanding that Plaintiffs J.M.A. and E.A.H. will be deported with

 their parents or guardians to Honduras as early as Saturday, July 28, 2018, without the

 opportunity for their own credible fear interview. This understanding is based on the fact that

 both fathers have already spoken with the Honduran Consulate, which is a required step for the

 preparation and issuance of travel documents before being deported. I believe they spoke with

 the Honduran Consulate on or about July 19, 2018. The fathers relayed to me that the consular

 official told them they would be deported very soon, and discouraged them from continuing to

 fight their cases. The consular official did not acknowledge that J. M.A. and E.A.H. have no

 removal orders and that the United States has no legal authority to deport the children.
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        14.     In my experience, when a family speaks with their consulate for the issuance of

 travel documents, they will be deported shortly thereafter, usually within a few days. I believe

 these families have not been deported sooner because the judge in Ms. L v. ICE, et al, No. 18-cv-

 00428-DMS-MDD (S.D. Cal., Feb. 2018), has issued a stay of removal through July 27, 2018.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

        Executed this 27th day of July, 2018, in San Antonio, Texas.




                                                            _________________________
                                                            Manoj Govindaiah
